        Case 1:23-cv-04929-JPB Document 83 Filed 04/30/24 Page 1 of 3




                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


INTERNATIONAL ALLIANCE OF
THEATER STAGE EMPLOYEES
LOCAL 927,

                   Plaintiff,                  Case No. 1:23-cv-04929-JPB
      v.

JOHN FERVIER, EDWARD LINDSEY,
JANICE W. JOHNSTON, SARA
TINDALL GHAZAL, and RICK
JEFFARES, in their official capacities as
members of the Georgia State Election
Board; and PATRISE PERKINS-
HOOKER, AARON V. JOHNSON,
MICHAEL HEEKIN, and TERESA K.
CRAWFORD in their official capacities
as members of the Fulton County
Registration and Elections Board,

                   Defendants.


               MOTION FOR PRELIMINARY INJUNCTION

      Pursuant to Federal Rule of Civil Procedure 65(a), Plaintiff the International

Alliance of Theatrical Stage Employees Local 927 (“IATSE”), for the reasons set

forth in the memorandum of law filed concurrently with this motion and its

supporting materials, respectfully moves for an order preliminarily enjoining

Defendants from enforcing O.C.G.A. § 21-2-381(a)(1)(A)—which requires

absentee-by-mail ballot applications to be submitted eleven days before election


                                         1
        Case 1:23-cv-04929-JPB Document 83 Filed 04/30/24 Page 2 of 3




day—and rejecting applications submitted by individuals voting for President and

Vice President “who may be absent from their election district or unit” on election

day and who apply for an absentee ballot up to seven days before election day, in

accordance with the Voting Rights Act. 52 U.S.C. § 10502(d).

      Plaintiffs also request that the Court waive the posting of security as otherwise

required by Federal Rule of Civil Procedure 65(c). See, e.g., New Ga. Project v.

Raffensperger, 484 F. Supp. 3d 1265, 1307 n.33 (N.D. Ga. 2020) (exercising

discretion to waive security in voting rights case); Ga. Coal. for People’s Agenda,

Inc. v. Kemp, 347 F. Supp. 3d 1251, 1268–69 (N.D. Ga. 2018) (same).




                                          2
        Case 1:23-cv-04929-JPB Document 83 Filed 04/30/24 Page 3 of 3




Dated: April 30, 2024                    Respectfully submitted,

Adam M. Sparks                           /s/ Uzoma N. Nkwonta
Georgia Bar No. 341578                   Uzoma N. Nkwonta*
Anré D. Washington                       Justin Baxenberg*
Georgia Bar No. 351623                   William K. Hancock*
KREVOLIN & HORST, LLC                    Marcos Mocine-McQueen*
1201 W. Peachtree St., NW                ELIAS LAW GROUP LLP
3250 One Atlantic Center                 250 Massachusetts Ave NW, Ste 400
Atlanta, GA 30309                        Washington, D.C. 20001
Tel: (404) 888-9700                      Telephone: (202) 968-4490
Fax: (404) 888-9577                      Facsimile: (202) 968-4498
Email: sparks@khlawfirm.com              unkwonta@elias.law
Email: washington@khlawfirm.com          jbaxenberg@elias.law
                                         whancock@elias.law
                                         mmcqueen@elias.law

                                         Counsel for Plaintiff International
                                         Alliance of Theatrical Stage Employees
                                         Local 927

                                         *Admitted Pro Hac Vice




                                     3
